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CERTIFICATE OF SERVICE

Thereby certify that on this 31st day of October, 2007, I caused a copy of the
foregoing to be served upon the following counsel in the manner indicated.

LanmA. dru

Regitta A. Iorii (#2600)

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AMERICAN HOME MORTGAGE HOLDINGS, INC.
2002 SERVICE LIST

BY HAND

James L. Patton, Ir., Esquire

Pauline K. Morgan, Esquire

Joel A. Waite, Esquire

‘| Young Conaway Stargatt & Taylor LLP
The Brandywine Building

1000 West Street, 17" Floor
Wilmington, DE 19801

(Debtors and Debtors-in-Possession)

BY HAND

Victoria A. Counihan, Esquire
Sandra G.M. Selzer, Esquire
Greenberg Traurig

The Nemours Building

1007 North Orange Street, Suite 1200
Wilmington, DE 19801

(WLR Recovery Fund III, as Lender and
Administrative Agent)

BY HAND

Sean M. Beach, Esquire

Matthew B. Lunn, Esquire

Kara Hammond Coyle, Esquire

Young Conaway Stargatt & Taylor LLP
The Brandywine Building

1000 West Street, 17" Floor
Wilmington, DE 19801

(Debtors and Debtors-in-Possession)

BY U.S. MAIL

Mark Ellenberg, Esquire

Cadwalader, Wickersham & Taft LLP
1201 F Street N.W.

Washington, DC 20004

BY U.S. MAIL

Benjamin C. Ackerly, Esquire
Michael G. Wilson, Esquire
Jason W. Harbour, Esquire
Hunton & Williams

951 East Byrd Street
Riverfront Plaza, East Tower
Richmond, VA 23219

(Calyon New York Branch)

BY U.S. MAIL

Doris Backenheimer, Esquire
Securities & Exchange Commission
3 World Financial Center

Room 400

New York, NY 10281

BY U.S. MAIL

Gregory A. Bray, Esquire

Fred Neufeld, Esquire

Milbank Tweed Hadley & McCloy LLP
601 South Figueroa Street, 30" Floor
Los Angeles, CA 90017

BY HAND

Mark D. Collins, Esquire

John H. Knight, Esquire
Richards, Layton & Finger, P.A.
One Rodney Square

P.O. Box 551

Wilmington, DE 19801

(ABN AMRO Bank)
(ABN AMRO Bank)
BY U.S. MAIL BY U.S. MAIL

Larry J, Nylan, Esquire
Matthew A. Clemente, Esquire
David A. Hall, Esquire

Sidley Austin LLP

One South Dearborn Street
Chicago, IL 60603

(Societe Generale)

Alison Cohn, Esquire

Securities & Exchange Commission
3 World Financial Center

Room 400

New York, NY 10281

Case 07-11047-CSS Doc1729-7 Filed 10/31/07 Page 3 of 16

BY U.S. MAIL

Dennis J, Drebsky, Esquire
Nixon Peabody, LLP

437 Madison Avenue

New York, NY 10022

(Deutsche Bank National Trust Company)

BY U.S. MAIL

Marcia L. Goldstein, Esquire
Lori R. Fife, Esquire

Ronit J. Berkovich, Esquire
Weil Gotshal & Manges LLP
767 Fifth Avenue

New York, NY 10153

(Credit Suisse First Boston Mortgage Capital LLC
et al.)

BY U.S. MAIL

Thomas H. Grace, Esquire
W. Steven Bryant, Esquire
Locke Liddell & Snapp

3400 JPMorgan Chase Tower
600 Travis Street, Suite 3400
Houston, TX 77002

(JPMorgan Chase Bank, N.A.)

BY U.S. MAIL

Internal Revenue Service
Insolvency Section

31 Hopkins Plaza, Room 1150
Baltimore, MD 21202

BY HAND

Steven K. Kortanek, Esquire

Womble Carlyle Sandridge & Ross, PLLC
222 Delaware Avenue, Suite 1501
Wilmington, DE 1980]

(Credit Suisse First Boston Mortgage Capital LLC
et al.)

BY HAND

Adam G. Landis, Esquire
Matthew B. McGuire, Esquire
Landis Rath & Cobb LLP

919 Market Street, Suite 600
Wilmington, DE 19801

(JPMorgan Chase Bank, N.A.)

BY U.S. MAIL

Peter 8. Partee, Esquire
Scott Benjamin, Esquire
Hunton & Williams LLP
200 Park Avenue, 53™ Floor
New York, NY 10166-0136

(Calyon New York Branch)

BY U.S. MAIL

Paul M. Basta, Esquire
Joshua A. Sussberg, Esquire
Lisa G. Laukitis, Esquire
Kirkland & Ellis

Citicorp Center

153 E. 53 Street

New York, NY 10022

(Citigroup Global Markets Inc.)

BY HAND

Marla R. Eskin, Esquire
Mark T. Hurford, Esquire
Campbell & Levine LLC
800 King Street, Suite 300
Wilmington, DE 19801

(Citigroup Global Markets Inc.)

BY HAND

Laura Davis Jones, Esquire

Curtis A. Hehn, Esquire

Pachulski Stang Ziehl & Jones LLP
919 N. Market Street, 17" Floor
Wilmington, DE 19801

(IndyMac Bank F.S.B.)

Case 07-11047-CSS Doc1729-7 Filed 10/31/07 Page 4 of 16

BY HAND

Kimberly E.C. Lawson, Esquire
Reed Smith LLP

1201 N. Market Street, Suite 1500
Wilmington, DE 19801

(ZC] Estate Tax Solutions Limited)

BY U.S. MAIL

Richard P. Norton, Esquire

Reed Smith LLP

599 Lexington Avenue, 29" Floor
New York, NY 10022

(ZCI Estate Tax Solutions Limited)

BY HAND

Joseph M. McMahon, Esquire
Office of the United States trustee
844 King Street, Suite 2207
Wilmington, DE 19801

BY U.S. MAIL

Richard Miller, Esquire

Robert Honeywell, Esquire

Kirkpatrick & Lockhart Preston Gates Ellis LLP
599 Lexington Avenue

New York, NY 10022

(Barclays Bank PLC & Barclays Capital)

BY U.S. MAIL

Eric K, Moser, Esquire

Wilburn F, Foster, Jr., Esquire

Milbank Tweed Hadley & McCloy LLP
1 Chase Manhattan Plaza

New York, NY 10005-1413

BY US. MAIL

John Rosenthal, Esquire

Nixon Peabody LLP

One Embarcadero Center, 18" Floor
San Francisco, CA 94111-3600

(Deutsche Bank National Trust Company)

(ABN AMRO Bank)
BY U.S. MAHL BY U.S. MAIL

Margot B. Schonhoitz, Esquire
Mark F. Liscio, Esquire

Scott D. Talmadge, Esquire
Kaye Scholer LLP

425 Park Avenue

New York, NY 10022-3596

{Bank of America N.A.)

Stephen B. Selbst, Esquire
McDermott Will & Emery LLP
340 Madison Avenue

New York, NY 10173-1922

(WestLB AG, New York Branch)

BY U.S. MAIL

Corinne Ball, Esquire

Erica M. Ryland, Esquire

I. Lewis H. Grimm, Esquire
Jones Day

222 East 41* Street

New York, NY 10017

(WLR Recovery Fund Ii, L.P., as Lender and

BY U.S. MAIL

Patricia Schrage, Esquire

Securities & Exchange Commission
3 World Financial Center

New York, NY 10281

Administrative Agent)
BY U.S. MAIL BY HAND

Vincent Sherman, Esquire

Securities & Exchange Commission
3 World Financial Center, Room 400
New York, NY 10281

Laurie Selber Silverstein, Esquire
Potter Anderson & Corroon LLP
1313 North Market Street, 6" Floor
Wilmington, DE 19801

(Bank of America N.A.)

Case 07-11047-CSS

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BY U.S. MAIL

Andrea Sheehan, Esquire

Law Offices of Robert E. Luna, P.C.,
4411 North Central Expressway
Dallas, TX 75205

(Carrollton-Farmers Branch Independent School
District; Garland Independent School District;

BY HAND

Russell C. Silberglied, Esquire
Christopher M. Samis, Esquire
Richards Layton & Finger, P.A.
One Rodney Square

P.O, Box 551

Wilmington, DE 19801

Lewisville Independent School District) (The Bank of New York)
BY HAND BY HAND

Ellen W. Slights, Esquire
Office of the U.S. Attorney
1007 Orange Street, Suite 700
Wilmington, DE 19801

Charles J. Brown, IT], Esquire
Archer & Griener

300 Delaware Avenue, 13" Floor
Wilmington, DE 19801

(AT&T)
BY U.S. MAIL BY U.S. MAIL

William P, Weintraub, Esquire
Pachulski Stang Zieh] & Jones LLP
780 Third Avenue, 36" Floor

New York, NY 10017

Elizabeth Banda, Esquire

Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 13436

Arlington, TX 76094—430

(IndyMac Bank F.S.B.) (City of Cedar Hill, Carroll ISD, Arlington ISD)
BY U.S. MAIL BY U.S. MAIL

Joseph T. Moldovan, Esquire Louis Benza, Esquire

Morrison Cohen LLP Empire Blue Cross Blue Shield

909 Third Avenue 15 Metro Tech Center South, 6" Floor

New York, NY 10022

(Empire HealthChoice Assurance, Inc., d/b/a
Empire Blue Cross Blue Shield)

Brooklyn, NY 11201

BY U.S. MAIL

Ronald L. Cohen, Esquire
Arlene R. Alves, Esquire
Seward & Kissel, LLP
One Battery Park Plaza
New York, NY 10004

(Citibank, N.A.)

BY U.S. MATL

Jonathan Winnick, Esquire
Citibank Agency & Trust Co.
388 Greenwich Street, 19" Floor
New York, NY 10013

BY U.S. MAIL

Vincent A. D’ Agostino, Esquire
Eric Horn, Esquire

Lowenstien Sandler PC

65 Livingston Avenue
Roseland, NJ 07068

(AT&T)

BY U.S. MAIL

Mark A. Broude, Esquire
David M. Stewart, Esquire
Latham & Watkins LLP

$85 Third Avenue, Suite 1000
New York, NY 10022-4068

(ORIX Capital Markets, LLC)

Case 07-11047-CSS Doc1729-7 Filed 10/31/07 Page 6 of 16

BY U.S. MAIL BY U.S. MAIL
Brett P, Barragate, Esquire Michael Reed, Esquire
Jones Day McCreary, Veselka, Bragg & Allen, P.C.
901 Lakeside Avenue P.O. Box 1269
North Point Round Rock, TX 78680
Cleveland, OH 44114
(County of Denton)
(WLR Recovery Fund HI, L.P., as Lender and
Administrative Agent)
BY U.S. MAIL BY HAND

Rick B. Antoroff, Esquire

Brandon R. Johnson, Esquire
Pillsbury Winthrop Shaw Pittman LLP
1540 Broadway

New York, NY 10036

(UBS Securities LLC and UBS Real Estate
Securities, Inc.}

William P, Bowden, Esquire
Don A. Beskrone, Esquire
Ashby & Geddes

500 Delaware Avenue, 8" Floor
Wilmington, DE 19801

(UBS Securities LLC; UBS Real Estate Securities,
Inc.; Morgan Stanley & Co., Incorporated; Morgan
Stanley Capital Services, Inc.; Morgan Stanley
Market)

BY U.S, MAIL

Elizabeth Weller, Esquire

Linebarger Goggan Blair & Sampson, LLP
2323 Bryan Street, Suite 1600

Dallas, TX 75201

BY HAND

Michael G, Busenkell, Esquire

Eckert Seamans Cherin & Mellott, P.C.
300 Delaware Avenue, Suite 1210
Wilmington, DE 19801

(Dallas County) (Calyon New York Branch)
BY U.S, MAIL BY HAND

Paul S. Caruso, Esquire
Jessica C. Knowles, Esquire
Sidley Austin LLP

One South Dearborn Street
Chicago, IL 60603

(Wells Fargo Funding, Inc. and Wells Fargo Bank,
N.A,)

Karen C. Bifferato, Esquire

Marc J, Phillips, Esquire

Christina M. Thompson, Esquire
Connolly Bove Ledge & Hutz LLP
The Nemours Building

1007 North Orange Street
Wilmington, DE 19801

(Wells Fargo Funding, Inc.; Wells Fargo Bank,
N.A.; Washington Mutual; Inland US Management,
LLC}

BY U.S. MAIL

Samuel B. Garber, Esquire
General Growth Management, Inc.
110 North Wacker Drive

Chicago, IL 60606

BY U.S. MAIL

Gerard R. Luckman, Esquire
Silverman Perlstein & Acampora LLP
100 Jericho Quadrangle, Suite 300
Jericho, NY 11753

(American Corporate Record Center, inc.)

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BY U.S. MAIL

Mary A. DeFalaise, Esquire
U.S. Dept. of Justice

BY U.S, MAIL

David H. Zielke, Esquire
Vice President & Assistant General Counsel

1100 L Street NW, Room 10002 Washington Mutual
Washington, DC 20005 1301 Secong Avenue
WMC 3501
Seattle, WA 98101
BY U.S, MAIL BY HAND

Michael Coyne

First Vice President
Washington Mutual

623 Fifth Avenue, 17" Floor
New York, NY 10022

Joseph O'Neil, Jr., Esquire

J, Cory Falgowski, Esquire

Reed Smith LLP

1201 N. Market Street, Suite 1500
Wilmington, DE 19801

(Federal Home Loan Mortgage Corp.; GMAC

Mortgage Corp.)
BY U.S. MAI; BY U.S. MAIL
George Kielman, Esquire Claudia Z. Springer, Esquire
Freddie Mac Barbara K. Hager, Esquire
8200 Jones Branch Drive Reed Smith LLP
MS 202 2500 One Liberty Place
McLean, VA 22102 1650 Market Street

Philadelphia, PA 19103-7301

(GMAC Mortgage Corp.)

BY U.S. MAIL

Robert P. Simons, Esquire
Reed Smith LLP

425 Sixth Avenue
Pittsburgh, PA 15219

BY U.S. MAIL

Harold A. Olsen, Esquire
Stroock & Stroock & Lavan LLP
180 Maiden Lane

New York, NY 10039-4982

(GMAC Mortgage Corp.) Morgan Stanley & Co., Incorporated; Morgan
Stanley Capital Services, Inc.; Morgan Stanley
Market Products, Inc.)

BY U.S. MAIL BY U.S. MAIL

Guy B. Moss, Esquire David G. Aelvoet, Esquire

Riemer & Braunstein LLP Linebarger Goggan Blair & Sampson LLP

Three Center Plaza Travis Building

Boston, MA 02108-2003

711 Navarro Suite 300
San Antonio, TX 78205

(Sovereign Bank)
(Bexar County)
BY HAND BY U.S. MAIL

Teresa K.D. Currier, Esquire
Mary F. Caloway, Esquire
Buchanan Ingersoll & Rooney PC
1000 West Street, Suite 1410
Wilmington, DE 19801

(Societe Generale)

Richard Stern, Esquire
Michael Luskin, Esquire
Luskin, Stern & Eisler LLP
330 Madison Avenue

New York, NY 10017

(Societe Generale)

Case 07-11047-CSS Doc1729-7 Filed 10/31/07 Page 8 of 16

BY U.S, MAIL

James M. Liston, Esquire
Bartlett Hackett Feinberg PC
155 Federal Street, 9" Floor
Boston, MA 02110

BY U.S, MAIL

Catherine Streege, Esquire
Jenner & Block LLP

330 North Wabash Avenue
Chicago, IL 60611-7603

(John J, Flatley & Gregory D. Stoyle) (Fannie Mae)
BY U.S. MAIL BY U.S. MAIL

Peter McGonigle, Esquire
Fannie Mae

1835 Market Street, Suite 2300
Philadelphia, PA 19103

Ian H. Gershengornh, Esquire

Jenner & Block LLP

601 Thirteenth Street NW, Suite 1200 South
Washington, DC 20005-3823

(Fannie Mae)

BY HAND

Todd C, Schiltz, Esquire

Wolf Block LLP

1100 N. Market Street, Suite 1001
Wilmington, DE 19801

(Wells Fargo Bank, National Association)

BY U.S. MALL

Franklin Top, IIE, Esquire
Chapman & Cutler LLP
111 West Monroe Street
Chicago, IL 60603

(Wells Fargo Bank, National Association)

BY U.S. MAIL

James E. Huggett, Esquire
Margolis Edelstein

750 8. Madison Street, Suite 102
Wilmington, DE 19801

(Ahmad Rasheed & Michael S, Surowiec)

BY U.S. MAIL

Mary B. Olsen, Esquire

M. Vance McCrary, Esquire
J, Cecil Gardner, Esquire
The Gardner Firm, P.C.
1119 Government Street
P.O. Drawer 3103

Mobile, AL 36652

(Ahmad Rasheed & Michael S. Surowiec)

BY U.S. MAIL

Scott K. Levine, Esquire

Platzer, Swergold, Karlin, Levine, Goldberg &
Jaslow LLP

1065 Avenue of the Americas, 18” Floor
New York, NY 10018

(Delage Landen Financial Services, Inc.)

BY U.S. MAIL

Leo T. Crowley, Esquire

Margot P. Ehrlich, Esquire

Pillsbury Winthrop Shaw Pittman LLP
1540 Broadway

New York, NY 16036-4039

(The Bank of New York)

BY U.S. MAIL

German Yusufov, Esquire

Terri A. Roberts, Esquire

Pima County, Arizona

32 North Stone Avenue, Suite 2100
Tucson, AZ 85701

BY HAND

Robert J. Dehney, Esquire

Donna L. Culver, Esquire

Morris Nichols Arshy & Tunnell LLP
1201 N. Market Street

Wilmington, DE 19801

(Financial Guaranty Insurance Co.; Assured
Guaranty; Travelers Casualty & Surety Co of
America)

Case 07-11047-CSS Doc1729-7 Filed 10/31/07 Page 9 of 16

BY U.S. MAIL

Bruce A. Wilson, Esquire
Kutak Rock LLP

1650 Farnan Street
Omaha, NE 68162

(Financial Guaranty Insurance Co.)

BY U.S. MAIL

Mark 8. Indelicato, Esquire
Mark T. Power, Esquire
Hahn & Hessen LLP

488 Madison Avenue

New York, NY 10022

(Official Committee of Unsecured Creditors)

BY HAND

Bonnie Glantz Fatell, Esquire
Blank Rome LLP

1201 Market Street, Suite 800
Wilmington, DE 19801

(Official Committee of Unsecured Creditors)

BY U.S. MAIL

Douglas R. Davis, Esquire

Kelley A. Cornish, Esquire

Paul Weiss Rifkind Wharton & Garrison LLP
1285 Avenue of the Americas

New York, NY 10019-6064

(Lehman Bros., Inc.; Bracebridge Capital, LLC)

BY U.S, MAIL

Susan R. Fuertes, Esquire

Aldine Independent School District
14910 Aldine-Westfield Road
Houston, TX 77032

BY U.S. MAIL

Martin Jefferson Davis, Esquire

Office of Thrift Supervision
Harborside Financial Center Plaza Five
Suite 1600

Jersey City, NJ_ 07311

BY HAND

Norman M. Monhait, Esquire
Rosenthal Monhait & Goddess, P.A.
919 Market Street, Suite 1401
Wilmington, DE 19801

BY U.S. MAIL

Matthew J. Botica, Esquire
David W. Wirt, Esquire
Winston & Strawn LLP

35 West Wacker Drive
Chicago, IL 60601

(Kodiak Funding LP)

(Kodiak Funding LP}
BY U.S. MAIL BY U.S. MAIL
John P. Dillman, Esquire Ling Chow
Linebarger Goggan Blair & Sampson LLP Andrew Pickering

P.O. Box 3064
Houston, TX 77253-3064

(Angelina & Harris Counties)

Assured Guaranty
1325 Avenue of the Americas
New York, NY 10019

BY U.S. MAIL

Kathleen M. O’Connell, Esquire
Suntrust Bank

303 Peachtree Street, 36" Floor
Atlanta, GA 30308

BY U.S, MAIL

Sheryl L. Moreau, Esquire
Missouri Dept. of Revenue
General Counsel’s Office

301 West Figh Street, Room 670
P.O. Box 475

Jefferson City, MO 65105-0475

Case 07-11047-CSS Doc1729-7 Filed 10/31/07 Page 10 of 16

BY U.S. MAIL

William G. Wright, Esquire

Farr, Burke, Gambacorta & Wright, P.A.
1000 Atrium Way, Suite 401

P.O. Box 669

Mt. Laurel, NJ 68054

(Bank of America Leasing & Capital, LLC)

BY HAND

Patrick J. Reilley, Esquire

Saul Ewing LLP

222 Delaware Avenue, Suite 1200
Wilmington, DE 19801

(Waldner’s Business Environments, Inc.)

BY U.S. MAIL

Harold 8. Berzow, Esquire
Ruskin Moscou Faltishek, P.C.
East Tower, 15 Floor

1425 RexCorp Plaza
Uniondale, NY 11556

{Waldner’s Business Environments, Inc.)

BY U.S. MAIL

David W. Stack

Senior Vice President

ABN AMRO Bank N.V.

55 East 52" Street, 2™ Floor
New York, NY 10055

BY U.S. MAIL

J, David Folds, Esquire

DLA Piper US LLP

1200 Nineteenth Street NW
Washington DC 20036-2412

(Boston Properties Limited Partnership)

BY U.S. MAIL,

Nancy Hotchkiss, Esquire
Trainer Fairbrook

P.O. Box 255824
Sacramento, CA 95865

(Cowifi Ironpoint, LLC)

BY U.S. MAIL

Brad R. Godshall, Esquire

Pachulski Stang Ziehl & Jones LLP

10100 Santa Monica Boulevard, 11° Floor
Los Angeles, CA 90067-4100

BY HAND

Ricardo Palacio, Esquire
Benjamin W. Keenan, Esquire
Ashby & Geddes

500 Delaware Avenue, 8" Floor
Wilmington, DE 19801

(IndyMac Bank F.8.B.}
(United Guaranty Services, Inc.; United Guaranty
Residential Ins. Co.; United Guaranty Mortgage
Indemnity Co.)

BY U.S. MAIL BY U.S. MAIL

Stephen D. Lerner, Esquire
Elliot M. Smith, Esquire

Squire Sanders & Dempsey LLP
312 Walnut Street, Suite 3500
Cincinnati, OH 45202-4036

(FSI Realty Funding, Inc.)

Alyssa D, Englund, Esquire
Orrick Herrington & Sutcliffe LLP
666 Fifth Avenue

New York, NY 10103

(WestLB AG, New York Branch)

BY U.S. MAIL

Richard L. Canel, Jr., Esquire
Spector Gaden & Rosen, P.C.
1635 Market Street, 7" Floor
Philadelphia, PA 19103

(Chesterbrook Partners, LP)

BY U.S. MAIL

Peter D. Bilowz, Esquire
Goulstone & Storrs, P.C.
400 Atlantic Avenue

Boston, MA 02110-3333

(Richtree Enterprises, LLC)

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BY U.S. MAIL

Madeleine C. Wanslee, Esquire
Gust Rosenfeld P.C.

BY U.S. MALL

American Express Travel related Services Co., Inc.
c/o Becket & Lee LLP

201 East Washington Street, Suite 800 P.O. Box 3001
Phoenix, AZ 85004-2327 Malvern, PA 19355-0701
BY U.S. MAIL BY U.S. MAIL

Susan D. Profant, CFCA, CLA, Paralegal

Ken Burton, Jr., Manatee County Tax Collector
P.O. Box 25300

Bradenton, FL 34205

John H. Capitano, Esquire

Kennedy Covington Lobdell & Hickman LLP
214 N. Tryon Street, 47" Floor

Charlotte, NC 28202

(NNN VF Four Resource Square, LLC)

BY U.S. MAIL

Susheel Kirpalani, Esquire

James C. Tecce, Esquire

Josepg G. Minias, Esquire

Quinn, Emanuel, Urquhart, Oliver & Hedges LLP
51 Madison Avenue, 22 Floor

New York, NY 10010

(Special Investigatory Litigation & Conflicts
Counsel to American Home Mortgage Holdings,
Inc.)

BY HAND

Michael J. Barrie, Esquire

Schnader Harrison Segal & Lewis LLP
824 N. Market Street, Suite 1001
Wilmington, DE 19801

(Liberty Property Limited Partnership)

BY U.S. MAIL

Barry E. Bressler, Esquire

Schnader Harrison Segal & Lewis LLP
1600 Market Street, Suite 3600
Philadelphia, PA 19103-7286

(Liberty Property Limited Partnership)

BY U.S. MAIL

Nancy Connery, Esquire

Schoeman, Updike & Kaufman, LLP
60 East 42" Street

New York, NY 10165

BY U.S. MAIL

Amold Gulkowitz, Esquire
Brian E, Goldberg, Esquire
Dickstein Shapiro LLP

1177 Avenue of the Americas
New York, NY 10022

(Greenwich Capital Markets, Inc.)

BY HAND

William E, Chipman, Esquire
Edwards Angell Palmer & Dodge LLP
919 N. Market Street, Suite 1500
Wilmington, DE 19801

(Countrywide Bank, Inc., et al}

BY U.S. MAIL

Nancy F. Loftus, Esquire

Office of the County Attorney
12000 Government Center Parkway
Suite 549

Fairfax, VA 22035

(Dept, of Tax Administration for Fairfax County,
VA)

BY U.S, MAIL

Stefanie Birbrower Greer, Esquire
King & Spalding LLP

1185 Avenue of the Americas
New York, NY 10036-4003

(CIFG Assurance North America, Inc.)

10

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BY U.S. MAIL

Margaret C. Lumsden, Esquire
Unti & Lumsden LLP

302 Jefferson Street, Suite 200
Raleigh, NC 27605

(Progress Energy Carolinas, Inc.)

BY HAND

Brett D. Fallon, Esquire

Morris James LLP

300 Delaware Avenue, Suite 1500
Wilmington, DE 19801

(CitiMortgage, Inc.)

BY U.S. MAIL

Andrew J, Petrie, Esquire
Featherseone Petrie DeSisto LLP
600 17" Street, Suite 2400 S
Denver, CO 80202-5424

(CitiMortgage, Inc.)

BY U.S. MAIL

Hollie N. Hawn, Esquire

Broward County Revenue Collection Div.
Bankruptcy & Litigation Section
Government Center

115 South Andrews Avenue

Fi. Lauderdale, FL 33301

BY U.S. MAIL

Janice D. Newell, Esquire
Cecil Ingram, Treasurer

Ada County Treasurer’s Office
200 West Front Street, 1“ Floor
Boise, ID 83702

BY U.S. MAIL

Donald D. Furlow, Esquire

Burns, Wall, Smith & Mueller, P.C.
303 East 17" Avenue, #800
Denver, CO 80203

(BRCP Aurora Marketplace, LLC)

BY U.S. MAIL

Thomas J. Leanse, Esquire

Dustin P. Branch, Esquire

Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600
Los Angeles, CA 90067-3012

(RREEF Management Company)

BY U.S. MAIL

Katherin E. Constantine, Esquire
Charles F. Sawyer, Esquire
Dorsey & Whitney LLP

50 South Sixth Street, Suite 1500
Minneapolis, MN 55402

(U.S, Bank National Association)

BY HAND

Eric Lopez Schnabel, Esquire
Dorsey & Whitney (Delaware) LLP
1105 N. Market Street, 16" Floor
Wilmington, DE 19801

(U.S. Bank National Association)

BY U.S. MAIL

Fred B. Ringel, Esquire

Robinson Brog Leinwand Greene Genovese &
Gluck P.C.

1345 Avenue of the Americas

New York, NY 10105

(3445 North Causeway Limited Partners)

BY U.S. MAIL

Karen J. Stapleton, Esquire
County of Loudoun, Virginia
One Harrison Street SE, 5" Floor
P.O. Box 7000

Leesburg, VA 20177

BY U.S. MAIL

Steven W. Kelly, Esquire
Silver & deBoskey, P.C.
1801 York Street
Denver, CO 80206

(Brookwood TamaracPlaza Investors, LLC;
Gateway Canyon, Inc.)

11

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BY U.S. MAIL

8. James Walker, Esquire

Griffith, McCague & Wallace, P.C.
The Gulf Tower, 38" Floor

707 Grant Street

Pittsburgh, PA 15219

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Geoffrey 8. Aronson, P.A.
Bank of America Tower

100 SE 2ns Street, 27" Floor
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(Craven-Shaffer-North Bay Village)

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PLLC

1101 Seventeenth Street NW, Suite 700
Washington, DC 20036-4704

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M. Evan Meyers, Esquire

Meyers, Robell & Rosenbaum, P.A.
6801 Kenilworth Avenue, Suite 400
Berkshire Building

Riverdale Park, MD 20737-1385

(Charles & Prince George’s Counties, MD)

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Michael R. Lastowski, Esquire
Richard W. Riley, Esquire

Duane Morris LLP

1100 N. Market Street, Suite 1200
Wilmington, DE 19801

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A. Michelle Hart, Esquire
McCalla Raymer, LLC
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Roswell, GA 30076-2102

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Hilary B, Bonial, Esquire

Tyler B. Jones, Esquire

Brice, Vander Linden & Wernick, P.C,
F# 7665-N-3470

9441 LBJ Freeway, Suite 350

Dallas, TX 75243

(EMC Mortgage Corporation)

BY U.S, MAIL

Robert A. Trodella, Jr., Esquire
Heller Ehrman LLP

333 Bush Street

San Francisco, CA 94104

BY HAND

Mark Minuti, Esquire

Saul Ewing LLP

222 Delaware Avenue, Suite 1200
Wilmington, DE 19801

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William Novotny, Esquire

Mariscal, Weeks, McIntyre & Friedlander, P.A.
2901 North Central Avenue, Suite 200
Phoenix, AZ 85012-2705

(Waterfall Shopping Center, Inc.)

Dana 8. Plon, Esquire

Sirlin Gallogly & Lesser, P.C.
1529 Walnut Street, Suite 600
Philadelphia, PA 19102

(Fidelity Court Associates)

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Gary Ginsburg, Esquire

Gary Meltzer, Esquire

Melizer, Lippe, Goldstein & Breitstone, LLP
190 Willis Avenue

The Chancery

Mineola, NY 11501

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Lance M. Jurich, Esquire

Loeb & Loeb LLP

10100 Santa Monica Boulevard
Los Angeles, CA 90067

(Merrill Lynch Pierce Fenner & Smith; Merrill
Lynch Bank USA)

BY U.S. MAIL

Vadim J, Rubenstein, Esquire
Loeb & Loeb LLP

345 Park Avenue

New York, NY 10154

(Merrill Lynch Pierce Fenner & Smith; Merrill
Lynch Bank USA}

BY HAND

Derek C, Abbott, Esquire

Morris Nichols Arsht & Tunnel! LLP
1201 N. Market Street

Wilmington, DE 19801

((Merrill Lynch Pierce Fenner & Smith; Merrill
Lynch Bank USA)

BY U.S. MAIL

Sean D. Malloy, Esquire

McDonald Hopkins LLC

600 Superior Avenue East, Suite 2100
Cleveland, OH 44114

(Certain Participants of the Non-Qualified Deferred
Compensation Plan)

BY HAND

Eric M. Davis, Esquire

Jason M. Liberi, Esquire

Skadden Arps Slate Meagher & Flom LLP
One Rodney Square

Wiimington, DE 19801

(Waterfield Shareholders LLC)

BY U.S. MAIL

Eric J, Gorman, Esquire

Felicia G. Perlman, Esquire

Justin L. Heather, Esquire

Skadden Arps Slate Meagher & Flom LLP
333 West Wacker Drive, Suite 2100
Chicago, IL 60606

(Waterfield Shareholders LLC}

BY U.S. MAIL

Sari E. Meador, Paralegal
Delinquency & Enforcement
Office of Joe G. Tedder, CFC

Tax Collector for Polk County, FL
P.O. Box 2016

Bartow, FL 33831-2016

BY U.S. MAIL

Richardo I. Kilpatrick, Esquire
903 North opdyke Road, Suite C
Auburn Hills, MI 48326

(Oakland County Treasurer)

BY U.S, MAH,

EMC Corporation

c/o Receivable Management Services
P.O. Box 5126

Timonium, MD 21094

BY U.S. MAIL

Shawn G. Rice, Esquire

Rice & Gotzmer, s.c.

605 North 8" Street, Suite 350
Sheboygan, WI 53081

(Priority Sign, Inc.)

BY U.S. MAIL

Michael S. Margoll, Esquire
Moss Codilis, LLP

6560 Greenwood Plaza Boulevard
Suite 101

Englewood, CO 80111

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Jonathan B. Alter, Esquire
Bingham McCutcheon LLP
One State Street

Hartford, CT 06103

(Travelers Casualty & Surety Co. of America)

BY U.S. MAEL

Lella Amiss E. Pape, Esquire
Rees Broome, PC

8133 Leesburg Pike, 9" Floor
Vienna, VA 22182

(East West Holdings, Inc.)

BY U.S. MAIL

Jonathan R. Winnick, Esquire
Bernstein Shur

100 Middle Street

P.O. Box 9729

Portland, ME 04104-5029

(Citibank, N.A.)

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Lee J. Mondshein, Esquire
7600 Jericho Turnpike
Woodbury, NY 11797

(Hauppage Woodlands Associates)

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Lisa C. McLaughlin, Esquire
Phillips, Goldman & Spence, P.A.
1200 North Broom Street
Wilmington, DE 19806

(FRMC Financial, Inc.)

BY U.S. MAIL

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Akerman Senterfitt

50 North Laura Street. Suite 2500
Jacksonville, FL 32202

(MarketWise Advisors, LLC)

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‘| Tally F. Parker, Esquire

Parker & Marks, P.C.

1333 Corporate Drive, Suite 209
Irving, TX 75038

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Michael B. Reynolds, Esquire
Joe Coleman, Esquire

Eric 8. Pezold, Esquire

Snell & Wilmer, LLP

600 Anton Boulevard, Suite 1400

(City of Irving, TX) Costa Mesa, CA 92626
(1140 Galaxy Way, Inc,)
BY U.S. MAIL BY U.S. MAIL
James Hardy Flora Garcia, Deputy Treasurer-Tax Collector
Galaxy Associates, LLC Office of the Tax Collector
1220 Ensenada Avenue County of Inperial, California

Laguna Beach, CA 92651

940 West Main Street, Suite 106
El Centro, CA 92243

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Shawn B. Rediger, Esquire
Williams, Kastner & Gibbs PLLC
601 Union Street, Suite 4100
Seattle, WA 98101

(W2007 Seattle Office Bellefield Office Park Realty
LLC)

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Richard F. Holley, Esquire

Ogonna M. Atamoh, Esquire

Santoro, Driggs, Walch, Kearney, Holley &
Thompson

400 South Fourth Street, 3“ Floor

Las Vegas, NV 89101

(Corporate Center V, LLC)

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IKON Office Solutions
Recovery & Bankruptcy Group
3920 Arkwright Read, Suite 400
Macon, GA 31210

BY U.S. MAIL

Shawn M. Christianson, Esquire
Buchalter Nemer PC

333 Market Street, 25" Floor
San Francisco, CA 94105-2126

(Oracle USA, Inc.)

BY U.S. MAIL

Rebecca L. Booth, Esquire
Morgan Lewis & Bockius LLP
1701 Market Street
Philadelphia, PA 19103-2921

(Mortgage Electronic Registration Systems, Inc.)

BY U.S. MAIL

Zachary Mosner, Esquire
Office of the Attorney General
Bankruptcy & Collections Unit
800 Fifth Avenue, Suite 2000
Seattle, WA 98104-3188

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